  Case 1:18-cv-01204-JTN-ESC ECF No. 7 filed 12/28/18 PageID.19 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 LARRY SEVENSKI,

        Plaintiff,
                                                                      Case No. 1:18-cv-1204
 v.
                                                                      HON. JANET T. NEFF
 BROCK ARTFITCH,

        Defendant.
 ____________________________/


                                      ORDER TO STRIKE

       On December 28, 2018, Defendant filed his Answer to the complaint with affirmative

defenses and jury demand (ECF No. 6). Upon review of the Answer, the Court finds that

Defendant failed to comply with W.D. Mich. LCivR 8.2, which requires a responsive pleading

under Fed. R. Civ. P. 8(b) to recite verbatim that paragraph of the pleading, or amended pleading,

to which it is responsive, followed by the response. For this reason, the Answer is stricken.

Therefore,

       IT IS HEREBY ORDERED that the Answer to the complaint with affirmative defenses

and jury demand (ECF No. 6) is STRICKEN. Defendant shall file a corrected answer, complying

with the court rules, no later than seven (7) days from the date of this Order.



Dated: December 28, 2018                                       /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge
